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                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                             CRIMINAL NO.

              t'                                     DATE FILED:

WYLENE JOHNSON                                       VIOLATIONS:
COOKIE BUNDY                                         f8 U.S.C. $ f34l (mail fraud - 4 counts)
HAKEEM COOPER                                        18 U.S.C. $ 64I (theft of public money -
BARRY MITCIIELL                                      4 counts)
LOUIS BARNETT                                        18 U.S.C. $ 2 (aiding and abetting)
                                                     Notice of forfeiture


                                     INDICTM ENT
                             COUNTS ONE T HROUGH FOUR
                                    (Mail Fraud)

TTIE GRAND JT'RY CHARGES THAT:

              At all times material to this indictment:

                                      INTRODUCTION

              l.     On March 13, 2020, the President declared the ongoing COVID-I9

pandemic to be an emergency under Section 501(b) of the Robert T. Stafford Disaster Relief and

Emergency Assistance Act.

              2.      On March 27, 2020, the Coronavirus Aid, Relief, and Economic Security

Act (CARES Act) was signed into law. The CARES Act created the PUA (Pandemic

Unemployment Assistance) program, which provided unemployment benefits to individuals not

eligible for regular unemployment compensation or extended rmemployment benefits.

              3.      The PUA program was administered by the various states, including the

Commonwealth of Pennsylvani4 but its benefits were funded by the federal govemment. ln

Pennsylvania, the Pennsylvania Department    oflabor      and Industry (PA   DLI) administered the
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PUA program, on behalf of the United States Department of Labor, which was responsible for

overseeing the PUA program.

                  4.    PA DLI required that a PUA claim be made online via the PUA website,

https://pua.benefits.uc.pa.gov. The applicant was required to enter personal identification

information (PII), including name, date ofbirth, social security number, email address, telephone

number, and a physical address. An applicant was also required to answer a series ofquestions

that enabled the PA DLI to determine the applicant's eligibility and payment amount. Once

awarded PUA benefits, the applicant was required to submit weekly certifications showing

continuing eligibility. While each state administered the application slightly differently, every

state referenced in this indictment required that the application for PUA benefits as well as the

weekly certifications be made online.

                  5.   While each state administered its own PUA program, the application used

by each state was a standard online application form. The form consisted of27 different sections

including a range ofquestions within each section. Some ofthe questions asked for the

applicant's PII and biographical information while other questions dealt with the applicant's

eligibility for the program and work history. An applicant was required to provide his or her

current employment status and answer if he or she was able to accept ajob if offered.   Ifthe

applicant could not accept ajob, the applicant was required to provide a reason for not being able

to accept ajob.

                  6.   The applicant was also asked whether they were unemployed as a result        of

a pandemic or   major disaster. Ifthe applicant's employment had not been affected as a result ofa

pandemic or major disaster, the applicant was not eligible for PUA benefits. If the applicant's


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employment had been affected by a pandemic or major disaster, the application was also

required to note in which state the applicant was affected by the pandemic or major disaster and

the nature of the pandemic or major disaster.

                 7.     In the 'self-certification' section ofthe application, the applicant was

required to answer questions regarding the nature and impact ofa pandemic or major disaster on

the applicant's employment status. First, the applicant was required to disclose the pandemic or

major disaster which affected the applicant's employment. An applicant was only eligible to

receive weekly PUA benefits if the applicant was unemployed for reasons related to the COVID-

19 pandemic. Second, the applicant was required to disclose the date    ofthe applicant's last day

of work. Finally, if the applicant quit their job due to COVID-I9, the applicant was required to

supply a reason for quitting.

                 8.    As to all ofthese preceding questions, the applicant was required to

"acknowledge that I understand that making the certification is under penalty ofperjury and

intentional misrepresentation in self-certifring that I may fall in one or more of these categories

is fraud."

                 9.    The applicant was also required to complete another certification, under

penalty ofperjury, that if offered ajob, the applicant must b€ able to accept it. An applicant was

required to read and understand the PUA Compensation Handbook, which indicated that any

eamings must be reported for each week a person works. The applicant was also required to

certifu once again as to the application that "all information is true and complete" and that if the

applicant provided false information the applicant could be subject to criminal prosecution.




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                  10.   IfPA DLI or another    state's administrative agency approved an application

for PUA benefits, the applicant was then eligible to receive benefits in the form of               checks,

electronic fund transfers, or debit cards, and the checks and debit cards were mailed via the United

States Postal Service to the physical address that appeared on the application. When a state agency

approved an applicant's eligibility, the agency also esrablished the applicant's period ofbenefits,

amount ofweekly benefit, and maximum total benefit amount. However, even after this occurred,

the applicant did not receive the benefits unless the applicant performed the appropriate weekly

certifications.

                  11.   The recipient   ofPUA benefits received   a unique applicant number       that

corresponded to the applicant's initial application and weekly certifications. Payments for pUA

were based on a seven-day period, from Sunday through Saturday. Thus, the benefits recipient

was required to certiry every seven days that he or she: a) was ready,       willing and able to work

each day; b) was seeking   full time employment; c) did not refuse     any   job offers or referrals; and,

d) had reported any employment during the week and the gross pay or other payments received.

The weekly certification was required to be completed in a timely manner.         A delay in the weekly

certificafion could result in a delay or denial of further payments.

                  12.   From on or about May 1,2020,to on or about October 22,2020,

defendant WYLENE JOHNSON lived at 6338 Regent Street, Philadelphi4 Pennsylvania.

                                        TIIE SCHEME

                  13.   From on or about May 1,2020,to on or about September 6, 2021, in the

Eastem District of Pennsylvania, and elsewhere, defendants

                                        WYLENE JOHNSON,
                                         COOKIE BUNDY,

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                                          HAKEEM COOPER,
                                        BARRY MITCHELL, and
                                           LOUIS BARNETT,

and others known and unknown to the grand             jury, devised and intended to devise   a scheme to

defraud state and federal agencies, and to obtain money and property, specifically PUA benefits,

by means of false and fraudulent pretenses, representations, and promises, in violation of Title

 18, United States Code, Section 1341.


                                         MAI{NERAND MEANS

                    It was part of the scheme that:

                    14.    Defendants WYLENE JOHNSON, COOKIE Bt_INDy, HAKEEM

COOPER" BARRY MITCHELL, and LOUIS BARNETT, as well as persons                         #t     and #2, known

to the grand jury, associated with one another in and around the area of Oxford Village in

Philadelphi4 and on public social media platforms. Defendants JOHNSON and BtINDy

referred to each other as siblings on social media posts. Defendants JOHNSON,                BtINDy,
COOPER, MITCHELL, and BARNETT, along with Person #1, posted commenrs and

photographs ofthemselves on public social media, including photographs ofthem together at

birthday parties and other social gatherings, sometimes wearing clothing bearing a common

insignia   -   all reflecting their common association.

                   15.     Defendants COOKIE BLTNDY, HAKEEM COOPER, BARRY

MITCHELL, and LOUIS BARNETT filed and caused to be filed fraudulent pUA

applications in their names with their respective PII.       All applications filed in the names of
defendants      BUNDY, cooPER, MITCffiLL, and BARNETT listed a mailing address of 6338

Regetrt Street, Philadelphi4 Pennsylvania.



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                16.    Defendant WYLENE JOHNSON filed and caused to be filed fraudulent

PUA applications in the names of other individuals with those individuals' respective PII and

fraudulent PUA applications in the names of other individuals using her own PII. The mailing

address listed on each ofthese applications was the home address of defendant JOHNSSN, 6338

Regent Street, Philadelphia, Pennsylvania.

               17.     After the fraudulent PUA applications had been filed, defendants

WYLENE JOHNSON, COOKIE BLTNDY, HAKEEM COOPER, BARRY MITCHELL,                                ANd

LOUIS BARNETT filed and caused to be filed the weekly certifications associated with each

respective application in order for PUA benefits to be issued on that application.

               18.     After PA DLI issued either   a check, direct deposit payment, or a   pUA

debit card for payment on each application, defendants WYLENE JOHNSON, COOKIE

BI-rNDY, HAKEEM cooPER, BARRY MITCHELL, and LoUIS BARNETT deposited the

checks into bank accounts, arranged for the direct deposits to be sent to a bank account which

they controlled, and,/or collected and possessed the puA debit card issued on the application.

Thereafter, defendants JOHNSON, BUNDY, COOPER, MITCHELL, and BARNETT made

direct expenditures using the PUA debit cards, withdrew the money from those cards at ATMs,

and/or transferred the money to financial accounts controlled by them.

               19.    On or about each ofthe following dates, in the Eastem District   of
Pennsylvani4 and elsewhere, defendants

                                   WYLENE JOHNSON,
                                     COOKIE BUNDY,
                                    HAKEEM COOPER,
                                  BARRY MITCHELL, and
                                     LOUIS BARNETT,

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    for the purpose of executing the scheme described above, knowingly caused to be delivered by

    United States mail or   a   private carrier, according to the directions thereon the documents described

    below, each mailing constituting a separate count:

     COUNT                          DATE                            DESCRIPTIO\
                                                            I



     1                              May 26,2020                 A PUA check mailed from Harrisburg,
                                                                Pennsylvania, addressed to defendant HAKEEM
                                I
                                                                COOPER at 6338 Regenr Street, Philadelphia.
                                                                      lvania
     2                              May 27,2020                 A PUA check mailed from Harrisburg,
                                                                Pennsylvania, addressed to defendant BARRY
                                                                MITCIIELL at 6338 Regent Street, Philadelphia,
                                                                      lvania.
I
    J                               June l. 2020                A PUA check mailed from Harrisburg,
                                                                Pennsylvania. addressed to defendant COOKJE       I



I
                                                                BLTNDY at 6338 Regent Street. Philadelphia.
                                                        I                                                         1




    I                               January 27 ,2021            A PUA debit card mailed from either Shoreview,
                                                                Indiana or Minneapolis, Minnesota, addressed to
                                                                defendant LOUIS BARNETT at 4730 penn
                                                                Avenue, Philadelphia,        lvania.

                  AII in violation of Title 18. United Stares Code, Section l34l




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                                            COUNT FIVE
                                        (Theft of Public Money)

 THE GRAND JURY FURTI{ER CHARGES THAT:

                  At all times material to this indictment:

                  1.      Paragraphs I through 12 and 14 through 18 of Counts One Through Four

 are incorporated here.

                  2.      Defendants WYLENE JOHNSON, COOKIE BUNDY, HAKEEM

 COOPE& BARRY MITCHELL, and LOUIS BARNETT filed and caused to be filed

 approximately 90 PUA applications which listed 6338 Regent Street, Philadelphi4 pennsylvani4

as the   mailing address, and falsely stated that the named applicant had lost his or her job on a

particular date due to the COVID-I9 pandemic.

                 3.       The statements on each application were false as the respective applicant

listed had not lost his or herjob due to the COVID-19 pandemic and the last day of work listed
                                                                                               on

each application necessarily was not the applicant's last day       of work due to the covlD-Ig
pandemic. As a result of the false statements on each ofthe applications, pA DLI approved
                                                                                          the

applications and dispersed a total amounr of frrnds ofat least $954,6g5.

                 4.       From on or about May 1,2020, to on or about September 6, 2021, in the

Eastem District of Pennsylvani4 and elsewhere, defendants

                                      WYLENE JOHNSON,
                                        COOKIE BUNDY,
                                       HAKEEM COOPER,
                                     BARRY MITCHELL, and
                                        LOUIS BARNETT,

and others known and unknown to the grand       jury, knowingly and willfinly stole and converted,

and aided and abetted the stealing and conversion of, to their use and the use of another.
                                                                                           monev

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and a thing of value of the United States, specifically, Pandemic Unemployment Assistance

lirnds under the care ofthe United States Department of Labor, in a value exceeding $1,000.

              In violation of Title 1 8, United States Code, Sections 641 md 2.




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                                            COUNT SIX
                                      (Theft of Public Monev)

 TIIE, GRAND JURY FURTHERCIIARGES THAT:

                 At all times material to this indictment:

                 1.      On March 27,2020, the Coronavirus Aid, Relief, and Economic Security

 Act ("the GARES Act') (Pub. L. 116-136) became law          and provided emergency assisrance     for
 individuals, families, and businesses affected by the coronavirus pandemic. The cARES Act

 provided multiple programs for businesses including the Economic Injury Disaster Loan (..EIDL,')

 program. The EIDL program provided low-rate emergency loan options for struggling
                                                                                   businesses

 for amounts up to $500,000. This program was administered by the United States Small Business

 Administration C'SBA'). The SBA was an executive branch agency              of the united states
govemment that provided support to entrepreneurs and small businesses. Applications
                                                                                    for the
EIDL program were made through an online SBA portal.

                2.      As part of the application progress, an applicant was required to submit

information about the applicant's business. This information included, .rmongst
                                                                                other categories,

the organization type   ofthe business, gross revenues for the twelve months preceding January 31,

2020, cost of goods sold for the twelve months preceding January 31, 2020,
                                                                           andthe number           of
employees working at the business.

               3.       As part of the application, an applicant could also request an emergency

advance   of$l0,000. The SBA paid this emergency advance within three days ofthe applicant

submiuing the information. To receive this advance and the ultimate loan, the applicant
                                                                                        was

required to enter bank account information into which the advance funds and
                                                                            loan were to be

deposited.

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                  4.       Before an applicant could submit the application, the applicant was

 required to certif,, under the penalty ofperjury and laws of the United States, that the

 information on the application is true and correct.

                  5.      The SBA proscribed limited uses for any funds, including the emergency

 advance, dispersed under this program. The      sBA required that the applicant only "use all

 proceeds   ofthis Loan solely as working capital to alleviate economic injury caused by disaster

 occurring in the month of January 31, 2020 and continuing thereafter and to pay uniform

 Commercial Code (UCC) lien filing fees."

                  6.      On or about June 29,2020, defendant WYLENE JOHNSON submitted an

EIDL application. On the application, defendant JOHNSON falsely stated that she owned a sole

proprietorship located at her residential address in philadelphi4 pennsylvania. Defendant

JOHNSON also falsely stated that: a) her business had 13 other employees; and b) in the twelve

months prior to the pandemic hers business had $142,000 in sales and $1g,000 in cost of goods

sold. For deposit information, defendant JOHNSON provided her personal police          and Fire

Federal Credit Union account ending in 2651.

                 7.       In addition to the above-listed information on the application, defendant

WYLENE JOHNSON requested an emergency advance from the SBA.

                 8.       Prior   to   submitting the applicatio4 defendanr WYLENE JOHNSON

certified that all information on the application was true and correct under the penalty ofthe laws

of the United States and perjury. The statements on the application were not true and correct but

false as the   covlD-I9   pandemic did not cause any business intemrption to wyLENE JOHNSON

and the business did not have the number ofemployees or prior revenue listed on the
                                                                                    application.


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                  9.        On or about Jnly 2, 2020, defendant WYLENE JOHNSON received an

 emergency advance of$10,000, which the SBA deposited into her Police and Fire Credit Union

 personal bank account. This amount was revened by the SBA from her bank account on or about

 luly 9,2020.

                  10.       On or about July 9,2020, defendant WYLENE JOHNSON executed a

 Loan Authorization and Agreement (*LA&A") with the SBA for an EIDL benefrt in the amounr

 of approximately $52,005. As part of this LA&A, defendant JOHNSON certified rhat she would

 spend the loan only on specified purposes. Defendant JOHNSON also specifically certified
                                                                                          the

 following statement was true and accurate, "under penalty ofperjury ofthe united States of

 Americ4 I hereby certiry that I am authorized to apply for and obtain      a disaster loan on behalf   of
Borrower, in connection with the effects of the COVID-I9 emergency."

                  I   1.   In addition to the false statemenrs made on her initial application,

defendant WYLENE JOHNSON also made false statements when executing the LA&A.

Defendant JOHNSoN was not authorized under the EIDL program to apply for and obtain
                                                                                    a

disaster loan and she did not use the proceeds of the loan for authorized purposes. As
                                                                                       a result     of
defendant JOHNSON's submission of an application with false statements and her execution
                                                                                                    of
a false   LA&A,   on or about July 13,2020, the SBA deposited approximately $52,005 into a pNC

bank account owned by defendant JOHNSON.

                  12.      Thereafter, from on or about July 13, 2020, to on or about October 2,2020,

defendant WYLENE JOHNSON did not spend the EIDL funds on proper business uses
                                                                              as required

by the application and LA&A. Rather, defendant JoHNsoN spenr funds on personal goods
                                                                                     and

items, including multiple expenditures at two different sporting goods stores, an electronics
                                                                                              store,


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a   luxury handbag store, and on a vacation stay at an AirBnB location. Defendant JOHNSON also

withdrew approximately $40,000 in cash from the account after the July 13, 2020 SBA deposit.

By on or about october 2, 2020, no funds were left in defendant JoHNSoN's pNC account.

                13.     From on or about June 29, 2020, to on or about October 2, 2020, in the

Eastem District of Pennsylvani4 and elsewhere, defendant

                                      WYLENEJOHNSON

knowingly and willfully stole and converted, to her use and the use of another, money and a

thing of value ofrhe United states, specifically, Economic Injury Disaster Loan funds rmder the

care of the United States Small Business Administration, in a value exceeding
                                                                              $1,000.

                In violation of Title 18. United States Code, Section 641.




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                                            COUNT SEVEN
                                        (fheft of Public Money)

 TIIE GRAND JI]RY FURTHER CHARGES THAT:

                At all times material to this indictment:

                l.     Paragraphs   I   through 5 of Count Six are incorporated here.

                2-     on or about July 6,2020, defendant LOUIS BARNETT submitted an EIDL

 application. on the application, defendant BARNETT falsely stated that he owned a sole

 proprietorship located at his residential address in philadelphia, pennsylvania. Defendant

 BARNETT also falsely stated that: a) the business activity was "agriculture;" b) his business
                                                                                               had

 nine other employees; and c) in the twelve months prior to the pandemic his business had

 $140,000 in sales and $18,000 in cost ofgoods     sold. For deposit information, defendant
BARNETT provided his personal Police and Fire Federal Credit Union account ending
                                                                                  in 573 l.

               3.      In addition to the aboveJisted information on the applicatiorl defendant

LOUIS BARNETT requested an emergency advance from the SBA.

               4.      Prior to submitting the application, defendant LouIS BARNETT certified

that all information on the application w:rs true and conect under the penalty
                                                                               of the laws of the
United States and perjury. The statements on the application were not true and conect
                                                                                      but false as
the COVID-I9 pandemic did not cause any business interruption to defendant
                                                                           BARNETT and the
business did not have the number ofemployees or prior revenue listed
                                                                     on the application.

               5.     on or about       Jury   9, 2020, defendant Louls BARNETT received rhe
emergency advance    of $9,000, which the SBA deposited into his wells Fargo personal bank
account' Defendant BARNETT did not spend the emergency advance on proper
                                                                         uses as authorized

by the SBA. Rather, he spent the emergency advance on personal items.

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               6.     From on or about July 6,2020,to on or about September 1,2020, in the

Eastem District of Pennsylvani4 and elsewhere, defendant

                                       LOUIS BARNETT

knowingly and willfully stole and converted, to his use and the use of another, money and   a   thing

of value of the United states, specifically, Economic Injury Disaster Loan funds under the care    of
the United States Small Business Administration, in a value exceeding $1,000.

              In violation of Title 18, United States Code, Section 641   .




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                                              COUNT EIGHT
                                           (Theft of Public Money)

 TIIE GRAND JURY FURTIIER CHARGES TIIAT:

                At all times material to this indictment:

                l.     Paragraphs      1   fhrough 5 of Count Six are incorporated here

                2.     On or about July 8,2020, defendant BARRy MITCHELL submitted an

 EIDL application. On the application, defendant MITCTIELL falsely stated that he owned               a sole

 proprietorship located at his residential address in philadelphi4 permsylvania. Defendant

 MITCHELL also falsely stated that:        a) the business   activity was "tattoo and piercing;', b) his

business had 12 other employees; and c) in the twelve months prior to the pandemic
                                                                                   his business

had $47,000 in sales and   $   12,000 in cost of goods    sold. For deposit information, defendant
BARNETT provided his personal pNC bank account ending in 23g3.

               3.      In addition to the aboveJisted inforrnation on the applicatiorl defendant

BARRY MITCTIELL requested an emergency advance fiom the SBA.

               4.      Prior to submitting the apprication, defendant BARRy MITCHELL certified

that all information on the application was true and conect under the penalty of the
                                                                                     laws of the
United States and perjury. The statements on the application were not true and correct
                                                                                       but false as

the COVID-l9 did not cause any business interruption to defendant MITCHELL
                                                                           and the business

did not have the number ofemproyees or prior revenue listed on the apprication.

               5.     on or about July 11, 2020, defendant BARRY MITCHELL received the
emergency advance    of $3,000, which the SBA deposited into his personal pNC bank account.
Defendant MITCHELL did not spend the emergency advance on proper
                                                                 uses as authorized by the


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SBA. Rather, he spent the emergency advance funds on personal items.

               6.     From on or about July 8,2020, to on or abour October l,2O2O, :rr.the

Eastem District ofPennsylvani4 and elsewhere, defendant

                                      BARRYMITCHELL

knowingly and willfi.rlly stole and converted, to his use and the use of another, money and   a   thing

of value of the United states, specifically, Economic Injury Disaster Loan finds under the care      of
the United States Small Business Administration, in a value exceeding $1,000.

               In violation of Title 18, United States Code, Section 641.




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                                        NOTICE OF           RFEITURE

 THE GRAND JURYTURTHER CHARGES THAT:

                    1.        As a result ofthe violations of Title 18, United States Code, Sections 641

 and l34l , as set forth in this indictrnent. defendants

                                           WYLENE JOHNSON
                                             COOKIE BUNDY,
                                            HAKEEM COOPER,
                                          BARRY MITCHELL, and
                                             LOUIS BARNETT

 shall forfeit to the United States of America any property that constitutes, or is

 derived from, proceeds traceable to the commission of such offenses, including, but not limited

to, the srm of$1,018,690.

                2        If    any of the property subject to forfeiture, as a result of any act or omission

ofthe defendants:

                         (a)        cannot be located upon the exercise ofdue diligence;

                         (b)        has been transferred or sold to, or deposited with, a third party;

                         (c)        has been placed beyond the   jurisdiction of the Court;

                         (d)       has been substantially diminished    in value; or

                         (e)       has been commingled with other property which cannot be divided

                                   without difficulty;

it is the intent ofthe united    States, pursuant to   Title 2g, united states code, Section 2461(c)

incorporating Title 21, United States code, Section g53(p), to seek forfeiture
                                                                               of any other
property ofthe defendants up to the value ofthe property subject to forfeiture.




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              All pursuant to Title   28, United States Code, Section 2461(c) and   Title   18, Unired

States Code, Section 981(a)(1)(C).




                                                     A TRUE BILL:




Ati,a,.-l
JACQUELINE C. ROMERO
UNITED STATES ATTORIIEY




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        No

        UNITIID S'T{TIIS DISTRICT C0T]I{T

                                   Eastern District of Pennsylvan ia


                                           Crinrinal I)iv ision


                         THE UNITED STATES OF AMERICA



       Wylene .lohnson, Cookic Bundy, I lakcem Coopcr, Barry Mitche ll, Louis Barnett

                                                    INDICl'MI'NT

                                                      ('o   rr   nt s
l8 u.s.c. $   1341, (mail fraud) 4 counrs and             l8 U.S.c.         {i 641 (rheft   ol'public money) 4 counts




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